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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA    :
                            :                          CASE NO. 1:21-cr-00552 (DLF)
         v.                 :
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
              Defendant.    :


                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          MOTION TO TRANSFER VENUE

       Defendant Kenneth Joseph Owen Thomas, who is charged in connection with events at the

U.S. Capitol on January 6, 2021, has moved to transfer venue in this case to the Northern District

of Ohio. ECF No. 46. In support of his motion, defendant makes the same failed arguments that

have been rejected by this Court, and every judge in this District to consider them; therefore, he

fails to establish that he “cannot obtain a fair and impartial trial” in this district, Fed. R. Crim. P.

21(a), and this Court should deny his motion. 1




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   United States v. Reffitt, No. 21-cr-32 (D.D.C. Oct. 15, 2021) (Minute Order) (DLF); ; see also
United States v. Bender, No. 21-cr-508, ECF No. 78 (D.D.C. Nov. 22, 2022) (BAH); United States
v. Nordean, et al., No. 21-cr-175, ECF No. 531 (Nov. 9, 2022) (TJK); United States v. Eicher, No.
22-cr-38, ECF No. 34 (D.D.C. Oct. 20, 2022); United States v. Nassif, No. 21-cr-421, ECF No. 42
(D.D.C. Sep. 12, 2022) (JDB); United States v. Brock, No. 21-cr-140, ECF No. 58 (D.D.C. Aug.
31, 2022) (JDB); United States v. Williams, No. 21-cr-618, ECF No. 63 (D.D.C. Aug. 12, 2022)
(ABJ); United States v. Herrera, No. 21-cr-619, ECF No. 54 (D.D.C. August 4, 2022) (BAH);
United States v. Garcia, No. 21-cr-129, ECF No. 83 (D.D.C. July 22, 2022) (ABJ); United States
v. Bledsoe, No. 21-cr-204 (July 15, 2022) (Minute Order) (BAH); United States v. Rhodes, et al.,
No. 22-cr-15, ECF No. 176 (D.D.C. June 28, 2022) (APM); United States v. Williams, No. 21-cr-
377 (June 10, 2022) (Minute Entry) (BAH); United States v. McHugh, No. 21-cr-453 (May 4,
2022) (Minute Entry) (JDB); United States v. Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr.
18, 2022) (APM); United States v. Alford, 21-cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC);
United States v. Brooks, No. 21-cr-503, ECF No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States
v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893 (D.D.C. Jan. 12, 2022) (RDM); United States
v. Fitzsimons, No. 21-cr-158 (D.D.C. Dec. 14, 2021) (Minute Order) (RC); United States v.
Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021) (APM).


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                                          BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       The defendant played a unique leadership role both prior to the riot and as the riot grew

increasingly violent. Operating under the alias of “Pi Anon,” the defendant personally organized

and led a “MAGA caravan” of vehicles, which the defendant referred to as the “Midnight Riders.”

The caravan drove from Alabama to Washington, D.C. to attend the “Stop the Steal” rally on

January 6, 2021. After attending that rally at the Ellipse, the defendant proceeded with his wife

and child to march down Pennsylvania Avenue in the direction of the Capitol Building. As the

crowd outside the Capitol, including defendant, grew increasingly violent towards the United

States Capitol Police (hereinafter, “USCP”) and Washington, D.C., Metropolitan Police

Department (hereinafter, “MPD”), the defendant’s wife and child decided to leave the scene. But

the defendant forged on.

       After the rioters breached the police line on the West Front of the Capitol at approximately

2:28pm, the defendant continued to advance towards the Capitol, ultimately coming face to face

with police officers attempting to regain control of the Capitol building, which had been breached

by a mob of violent rioters. Rather than heed officers’ warnings to leave the scene, the defendant,

from approximately 3:30pm to 4:30pm, proceeded to lead a barrage of assaults on no less than five




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different police officers. Indeed, at approximately 3:30pm, the defendant assaulted multiple MPD

officers on the Senate side of the West Front of the Capitol by, twice, running up a short flight of

stairs and throwing his body and hands into the officers. Even after these assaults, the defendant

can be seen on those officers’ body worn camera continuing to stand near the bottom of those

stairs; at the same time, he can heard be yelling:

           •   “Police stand down!”
           •   “We want freedom! We want peace!”
           •   “Police stand down!”
           •   “This is our house!”

       Approximately one hour later, around 4:30pm, the defendant continued assaulting

additional officers, this time from the Prince George’s County Police Department (“PG County

PD”). PG County PD had been summoned from across the Potomac to assist with the on-going

crisis at the Capitol after MPD and USCP were being overwhelmed by the violent and unrelenting

conduct of the rioters, including that of the defendant. Not only did the defendant participate in the

violence, but he acted as a ringleader: always appearing at the front of the line against police, the

defendant consistently called out to his fellow rioters to hold the line, gave them instructions to

turn their backs to the line of officers as they attempted to advance against the police line, and

ordered the rioters when and where to assault the police. Ultimately, the defendant did not enter

the Capitol and was forced from the restricted area around the Capitol by MPD, USCP, the

reinforcing police departments from other jurisdictions, and the D.C. National Guard.

       Based on his actions on January 6, 2021, the defendant was charged on December 13, 2022,

in a Second Superseding Indictment, with Obstruction of Law Enforcement During a Civil

Disorder and Aiding and Abetting, in violation of 18 U.S.C. §§ 231(a)(3) (Count 1); and

Obstruction of an Official Proceeding and Aiding and Abetting, in violation of 18 U.S.C.

§§ 1512(c)(2) and 2 (Count 2); five felony counts related to Assaulting, Resisting, or Impeding


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Certain Officers in violation of 18 U.S.C. §§ 111(a)(1) (Counts 3, 4, 5, 6, and 7); three felony

counts relating to disorderly conduct and violence in a restricted building or grounds, in violation

of 18 U.S.C. § 1752(a)(1), (2), and (4) (Counts 8, 9, and 10); and, two misdemeanor counts relating

to disorderly conduct and violence in a Capitol building or grounds, in violation of 40 U.S.C.

§ 5104(e)(2)(D) and (F). ECF No. 49.

       The defendant now moves for a change of venue. ECF No. 46. He contends that prejudice

should be presumed in this district for several reasons: (1) the size and characteristics of the D.C.

jury pool, (2) the pretrial publicity surrounding the events of January 6, and (3) the timing of the

proceedings relative to the events of January 6. Each of the defendant’s arguments is without

merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best




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course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

  I.   The Characteristics of the District of Columbia’s Jury Pool Do Not Support a Change
       of Venue.

       The defendant also contends that a D.C. jury cannot be impartial because of various

characteristics of the District’s jury pool: the political makeup of the District’s electorate, the

impact of January 6 on D.C. residents, and the prevalence of federal employees in the District.

ECF No. 46 at 3-8. None of these claims has merit.

           A. The District of Columbia’s political makeup does not support a change of venue.

       The defendant contends that he cannot obtain a fair trial in the District of Columbia because

“an overwhelming number of District of Columbia residents—over 92 percent—voted for

President Biden” in 2020. ECF No. 46 at 7. The en banc D.C. Circuit rejected a nearly identical

claim in Haldeman, where the dissent concluded that a venue change was required because

“Washington, D.C. is unique in its overwhelming concentration of supporters of the Democratic

Party” and the Democratic candidate received 81.8% and 78.1% of the vote when Nixon ran for

President in 1968 and 1972, respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring

in part and dissenting in part). The majority rejected the relevance of this fact, observing that

authority cited by the dissent gave no “intimation that a community’s voting patterns are at all

pertinent to venue.” Id. at 64 n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C.



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Cir. 1975) (rejecting the argument that “because of [the defendant’s] connection with the Nixon

administration and his participation in a ‘dirty tricks’ campaign aimed at Democratic candidates

and with racial overtones, a truly fair and impartial jury could not have been drawn from the

District’s heavily black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to perhaps more than its fair share of trials in politically charged cases. High-profile

individuals strongly associated with a particular party, such as Marion Barry, John Poindexter,

Oliver North, Scooter Libby, Roger Stone, and Steve Bannon have all been tried here. See United

States v. Barry, 938 F.2d 1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C.




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Cir. 1991); United States v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v.

Libby, 498 F. Supp. 2d 1 (D.D.C. 2007); United States v. Stone, No. 19-cr-0018 (ABJ), 2020 WL

1892360 (D.D.C. Apr. 16, 2020); United States v. Bannon, No. 210-cr-670 (CJN). Indeed, the

Court in Stone rejected the argument that jurors “could not possibly view [Roger Stone]

independently from the President” because of his role in the presidential campaign or that “if you

do not like Donald Trump, you must not like Roger Stone.” 2020 WL 1892360, at *30-31.

Similarly here, the fact that most District residents voted against Donald Trump does not mean

those residents could not impartially consider the evidence against those charged in connection

with the events on January 6.

           B. The impact of January 6 on Washington D.C. does not support a change of venue.

       The defendant contends that a D.C. jury could not be impartial because D.C. residents have

“reported feeling deeply traumatized by the events [of January 6] that took place so close to where

they live and work.” ECF No. 46 at 5. Specifically, the defendant cites the Mayor’s declaration of

a state of emergency, the citywide curfew, restricted access to roads and bridges, and the municipal

government’s request that District residents not attend the Inauguration on January 20, 2021. Id.

at 6. But January 6 is now nearly two years in the past. Many D.C. residents do not live or work

near the Capitol where the roads were closed and the National Guard was deployed. There is no

reason to believe that the District’s entire population of nearly 700,000 people was so affected by

these events that the Court cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized by their crimes. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon

bombing); Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155




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(2d Cir. 2003) (1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612,

613 (4th Cir. 2002) (per curiam) (unpublished) (September 11, 2001 attacks, including on the

Pentagon). In Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of

victims” in the Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384

(quotation omitted). “Although the widespread community impact necessitated careful

identification and inspection of prospective jurors’ connections to Enron,” the voir dire was “well

suited to that task.” Id.

        The defendant’s citation to a Canadian Broadcasting Corporation (hereinafter, “CBC”)

story, in which a single District resident gave a quote about how the events of January 6 had

affected them, and a second DCist story, about how District residents were alternating their

lifestyles for their safety during the period of time between January 6, 2021, and the Inauguration

two weeks later, is unpersuasive. ECF No. 46 at 6. Even if the specific person who provided that

quote to CBC were summoned as a prospective juror in this case, the voir dire would be “well-

suited to [the] task” of determining that person’s strongly held beliefs about the events of January

6 and removing them from the pool of jurors. Skilling, 561 U.S. at 384. Similarly, that some

District residents had to temporarily alter their lives in the wake of the events of January 6, does

not mean that the defendant would not be able to receive a fair trial in this jurisdiction. See In re

Tsarnaev, 780 F.3d at 15 (defendant charged with bombing the Boston Marathon able to receive a

fair trial in Boston despite the effects on the community in the immediate wake of the attack). In

this case too, voir dire can adequately identify those D.C. residents who were so affected by

January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

            C. The number of federal employees who reside in the District of Columbia does not
               support a change of venue.

        The defendant argues that the Court should presume prejudice in this District because the



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jury pool would contain a high percentage of federal government employees or their friends and

family members. ECF No. 46 at 4-5. But the defendant does not explain how merely being

employed by the federal government would render a person incapable of serving as an impartial

juror. Although some federal employees, such as members of the U.S. Capitol Police, were

affected by the events of January 6, many others were neither directly nor indirectly impacted.

Indeed, many federal employees were nowhere near the Capitol on January 6 given the maximum

telework posture of many federal agencies at the time. And the storming of the Capitol on January

6 was not aimed at the federal government in general, but specifically at Congress’ certification of

the electoral vote. There is therefore no reason to believe that federal employees with little or no

connection to the events at the Capitol could not be impartial in this case. See United States v.

Bochene, No. CR 21-418 (RDM), 2022 WL 123893, at *2 (D.D.C. Jan. 12, 2022) (January 6

defendant’s claim that federal employees would “have a vested interest in supporting their

employer” was “exactly the kind of conjecture that is insufficient to warrant transfer prior to jury

selection”).

       Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. According to the Office of Personnel Management, around 141,000 non-Postal

Service employees worked in Washington, D.C., in 2017. OPM, Federal Civilian Employment,

available at https://www.opm.gov/policy-data-oversight/data-analysis-documentation/federal-

employment-reports/reports-publications/federal-civilian-employment/. But many of the federal

employees who work in the District live outside the District and would not be part of the jury pool.

And the District has nearly 700,000 residents. Thus, even if every federal employee were

disqualified, the Court would be able to pick a jury in this District




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 II.   The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       The defendant contends that a change of venue is warranted based on pretrial publicity.

ECF No. 46 at 8-16. “The mere existence of intense pretrial publicity is not enough to make a trial

unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States v.

Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defendant of due process”). Indeed, “every case of public

interest is almost, as a matter of necessity, brought to the attention of all the intelligent people in

the vicinity, and scarcely any one can be found among those best fitted for jurors who has not read

or heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived

notion as to the guilt or innocence of an accused, without more,” is insufficient to establish

prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine



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a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers




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could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

           A. Size and characteristics of the community.

       The defendant suggests ECF No. 46 at 4 that an impartial jury cannot be found in

Washington, D.C., despite the District’s population of nearly 700,000. Although this District may

be smaller than most other federal judicial districts, it has a larger population than two states

(Wyoming and Vermont), and more than four times as many people as the parish in Rideau. The

relevant question is not whether the District of Columbia is as populous as the Southern District

of Texas in Skilling, but whether it is large enough that an impartial jury can be found. In Mu’Min

v. Virginia, 500 U.S. 415, 429 (1991), the Court cited a county population of 182,537 as supporting

the view than an impartial jury could be selected. And Skilling approvingly cited a state case in

which there was “a reduced likelihood of prejudice” because the “venire was drawn from a pool

of over 600,000 individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501

U.S. 1030, 1044 (1991)). There is simply no reason to believe that, out of an eligible jury pool of

nearly half a million, “12 impartial individuals could not be empaneled.” Id.




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            B. Nature of the pretrial publicity.

        Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.

at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and

accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice.

As in Skilling and Haldeman, the news coverage of the defendant is “neither as inherently

prejudicial nor as unforgettable as the spectacle of Rideau’s dramatically staged and broadcast

confession.” Id.     Indeed, although any media characterizations of the defendant would be

inadmissible, the photos and videos of the defendant that have been disseminated would be both

admissible and highly relevant. Compare Sheppard, 384 U.S. at 360 (noting that information

reported by the media was “clearly inadmissible” and that “[t]he exclusion of such evidence in

court is rendered meaningless when news media make it available to the public”), with Murray v.

Schriro, 882 F.3d 778, 805 (9th Cir. 2018) (“There was no inflammatory barrage of information

that would be inadmissible at trial. Rather, the news reports focused on relaying mainly evidence

presented at trial.”); Henderson v. Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991) (“[B]ecause we

have found [the defendant’s] confessions were admissible, the damage if any from the [pretrial]

publicity is negligible.”).

        The defendant also contends that the nationally televised hearings of the U.S. House of

Representatives Select Committee to Investigate the January 6th Attack on the United States

Capitol (Select Committee) and documentaries about January 6 released by HBO and the New

York Times support a change of venue. ECF No. 46 at 14. But this exposure was not limited to

D.C. Instead, the congressional hearings and the respective documentaries were carried on

national networks across the country and streamed into homes across the country. In similar




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circumstances, the D.C. Circuit affirmed the denial of a change of venue where the defendants—

who were high-ranking members of the Nixon administration—complained that they were

prejudiced by news coverage of the Watergate-related hearings. Haldeman, 559 F.2d at 62-64 &

nn.35, 43. The court of appeals observed that “a change of venue would have been of only doubtful

value” where the “network news programs and legislative hearings” related to Watergate were

“national in their reach.” Id. at n.43.

       Moreover, with specific respect to the televised proceedings of the House Select

Committee, the 20 million viewers of the June 9, 2022, hearing represent only about 6% of the

total U.S. population. The defendant has not pointed to any evidence that D.C. residents were

more likely to have watched that hearing than citizens in other parts of the country. And even if

D.C. residents tuned in at a higher rate, it is still likely that a majority of D.C. residents did not

watch the hearings. Moreover, those hearings have focused on the events of January 6 as a whole,

not on the actions of the defendant. There is no reason to believe that coverage of the hearings

will create in D.C. such a degree of bias against this particular defendant that an impartial jury

cannot be selected.

       Additionally, a careful voir dire—rather than a change of venue—is the appropriate way

to address potential prejudice from the Select Committee hearings. “[V]oir dire has long been

recognized as an effective method of routing out [publicity-based] bias, especially when conducted

in a careful and thoroughgoing manner.” In re Nat’l Broadcasting Co., 653 F.2d 609, 617 (D.C.

Cir. 1981). After a careful voir dire, this Court can select a jury from those residents who either

did not watch the hearings or who, despite having watched the hearing, give adequate assurances

of their impartiality. See Haldeman, 559 F.3d at 62 n.35 (rejecting claim of prejudice even though

“several jurors” had “seen portions of the televised Senate hearings” related to Watergate).




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       The defendant asserts that a fair trial cannot be had in D.C. because of the “pervasive

pretrial publicity” of January 6. ECF No. 46 at 8. But even “massive” news coverage of a crime

does not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small

percentage of the news coverage of January 6 has focused on the defendant himself. Unlike most

cases involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and

Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 900 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the

jury about the need to determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). Thus, the nature and extent

of the pretrial publicity do not support a presumption of prejudice.

           C. Passage of time before trial.

       The defendant incorrectly contends that in the full two years since the events of January 6,

media interest in the event remains at an “all time high.” A cursory inspection of any news source

in January 2023 shows that the coverage of January 6 is vastly less than the essentially twenty-




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four-hour coverage that the events received in the first half of January 2021. Beyond these

counterfactual assertions, the defendant’s argument about the period of time that has elapsed since

January 6, 2021, and when the trial would commence do not merit a change of venue.

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, two years have already

elapsed since the events of January 6, and more time will elapse before trial. This is far more than

in Rideau, where the defendant’s trial came two months after his televised confession. Rideau,

373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of media

attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a relatively small

percentage of the recent stories have mentioned the defendant himself, and much of the reporting

has been national is scope, rather than limited to Washington, D.C. Indeed, and ironically, the three

most recent media stories that mention the defendant by name and describe his role in the events

of January 6 are from three local television news stations based in Youngstown, Ohio, which is

located in the Northern District of Ohio, the very district to which the defendant now seeks to have

his case transferred.

           D. The jury verdict.

       Because the defendant has not yet gone to trial, the final Skilling factor—whether the

“jury’s verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at

383—does not directly apply. But the fact that Skilling considered this factor to be “of prime

significance,” id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a

case should proceed to trial in the district where the crime was committed, and courts can examine

after trial whether the record supports a finding of actual or presumed prejudice. In short, none of

the Skilling factors supports the defendant’s contention that the Court should presume prejudice




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and order a transfer of venue without even conducting voir dire.

III.   The January 6-Related Jury Trials That Have Already Occurred Have Demonstrated
       the Availability of a Significant Number of Fair, Impartial Jurors in the D.C. Venire.

       At this point, more than a dozen January 6 cases have proceeded to jury trials, and the

Court in each of those cases has been able to select a jury without undue expenditure of time or

effort. See Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select

jurors who appear to be impartial is another factor relevant in evaluating those jurors’ assurances

of impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot

be selected, that fact should become evident at the voir dire”). Instead, the judges presiding over

nearly all of those trials were able to select a jury in one or two days. See United States v. Reffitt,

No. 21-cr-32, Minute Entries (Feb. 28 & Mar. 1, 2022); United States v. Robertson, No. 21-cr-34,

Minute Entry (Apr. 5, 2022); United States v. Thompson, No. 21-cr-161, Minute Entry (Apr. 11,

2022); United States v. Webster, No. 21-cr-208, Minute Entry (Apr. 25, 2022); United States v.

Hale-Cusanelli, No. 21-cr-37, Minute Entry (May 23, 2022); United States v. Anthony Williams,

No. 21-cr-377, Minute Entry (June 27, 2022); United States v. Bledsoe, No. 21-cr-204, Minute

Entry (July 18, 2022); United States v. Herrera, No. 21-cr-619, Minute Entry (D.D.C. August 15,

2022); United States v. Jensen, No. 21-cr-6, Minute Entries (Sep. 19 & 20, 2022); United States v.

Strand, No. 21-85, Minute Entry (D.D.C. Sep. 20, 2022); United States v. Alford, No. 21-cr-263,

Minute Entry (Sep. 29, 2022); United States v. Riley Williams, No. 21-cr-618, Minute Entries

(D.D.C. Nov. 7 & 8, 2022); United States v. Schwartz, No. 21-cr-178, Minute Entries (Nov. 22 &

23, 2022). The only exception has been a trial involving seditious conspiracy charges against five

members of the Oath Keepers wherein the jury selection took three days. See United States v.

Rhodes, et al., No. 22-cr-15, Minute Entries (Sept. 27, 28, 29, 2022). And, using these first few




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jury trials as exemplars, the voir dire that took place undermines the defendant’s claim that

prejudice should be presumed.

        In Reffitt, this Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt, No. 21-cr-32, ECF No. 136 at 121. The Court asked

all the prospective jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in

this case” and whether they had any “strong feelings or opinions” about the events of January 6 or

any political beliefs that it would make it difficult to be a “fair and impartial” juror. Reffitt, No.

21-cr-32, ECF No. 133 at 23, 30. The Court then followed up during individual voir dire. Of the

18 jurors that were struck for cause, only nine (or 16% of the 56 people examined) indicated that

they had such strong feelings about the events of January 6 that they could not serve as fair or

impartial jurors. 2

        In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson, No. 21-cr-208, ECF No. 106 at 170, 172, 181, 190, 193. The court

asked the entire venire 47 standard questions, and then followed up on their affirmative answers

during individual voir dire. Id. at 4-5, 35. Of the nine prospective jurors struck for cause, only

three (or about 9% of those examined) were stricken based on an inability to be impartial, as

opposed to some other cause. 3



2
  For those struck based on a professed inability to be impartial, see Reffitt, No. 21-cr-32, ECF No.
133 at 49-54 (Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046); ECF No. 134 at 41-42 (Juror
443), 43-47 (Juror 45), 71-78 (Juror 1747), 93-104 (Juror 432), 132-43 (Juror 514); ECF No. 135
at 80-91 (Juror 1484). For those struck for other reasons, see Reffitt, No. 21-cr-32, ECF No. 134
at 35-41 (Juror 313, worked at Library of Congress); ECF No. 134 at 78-93 and ECF No. 135 at 3
(Juror 728, moved out of D.C.); ECF No. 135 at 6-8 (Juror 1650, over 70 and declined to serve),
62-73 (Juror 548, unavailability), 100-104 (Juror 715, anxiety and views on guns), 120 (Juror 548,
medical appointments); ECF No. 136 at 41-43 (Juror 1240, health hardship), 53-65 (Juror 464,
worked at Library of Congress), 65-86 (Juror 1054, prior knowledge of facts).
3
  For the three stricken for bias, see Thompson, No. 21-cr-208, ECF No. 106 at 51-53 (Juror 1242),
85-86 (Juror 328), 158-59 (Juror 999). For the six stricken for hardship or inability to focus, see


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        Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson, No. 21-cr-34, ECF No.

106 at 73. The Court asked all prospective jurors whether they had “such strong feelings” about

the events of January 6 that it would be “difficult” to follow the court’s instructions “and render a

fair and impartial verdict.” Robertson, No. 21-cr-34, ECF No. 104 at 14. It asked whether

anything about the allegations in that case would prevent prospective jurors from “being neutral

and fair” and whether their political views would affect their ability to be “fair and impartial.” Id.

at 13, 15. The Court followed up on affirmative answers to those questions during individual voir

dire. Of the 15 prospective jurors struck for cause, only nine (or 18% of the 49 people examined)

indicated that they had such strong feelings about the January 6 events that they could not be fair

or impartial. 4

        In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%).

Webster 4-26-22 AM Tr. 6, though it later excused one of those 35 based on hardship, Webster 4-

25-22 PM Tr. 217-18. 5 The Court asked all prospective jurors whether they had “strong feelings”

about the events of January 6 or about the former President that would “make it difficult for [the

prospective juror] to serve as a fair and impartial juror in this case.” Webster 4-25-22 AM Tr. 19.

During individual voir dire, the Court followed up on affirmative answers to clarify whether



Thompson, No. 21-cr-208, ECF No. 106 at 44 (Juror 1513), 45 (Juror 1267), 49-50 (Juror 503),
50-51 (Juror 1290), 86-93 (Juror 229), 109-10 (Juror 1266).
4
  For those struck based on a professed inability to be impartial, see Robertson, No. 21-cr-34, ECF
No. 104 at 26-34 (Juror 1431), 97-100 (Juror 1567); ECF No. 105 at 20-29 (Juror 936), 35-41
(Juror 799), 59-70 (Juror 696), 88-92 (Juror 429); ECF No. 106 at 27-36 (Juror 1010), 36-39 (Juror
585), 58-63 (Juror 1160). For those struck for other reasons, see Robertson, No. 21-cr-34, ECF
No. 104 at 23-26 (Juror 1566, hardship related to care for elderly sisters), 83-84 (Juror 1027, moved
out of D.C.); ECF No. 105 at 55-59 (Juror 1122, language concerns), 92-94 (Juror 505, work
hardship); ECF No. 106 at 16-21 (Juror 474, work trip); 50-53 (Juror 846, preplanned trip).
5
  The transcripts in Webster remain restricted on the docket until December 18, 2022, but the
United States can provide them to the Court upon request.


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prospective jurors could set aside their feelings and decide the case fairly. See, e.g., id. at 32-33,

41-42, 54-56, 63, 65-66. Only 10 out of 53 prospective jurors (or about 19%) were stricken based

on a professed or imputed inability to be impartial, as opposed to some other reason. 6 The Webster

Court observed that this number “was actually relatively low” and therefore “doesn’t bear out the

concerns that were at root in the venue transfer motion” in that case. Webster, 4-26-22 AM Tr. 7.

        In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli, No. 21-cr-37, ECF No. 91 at 106, 111. The Court asked

prospective jurors questions similar to those asked in the other trials. See Hale-Cusanelli, No. 21-

cr-37, ECF No. 90 at 72-74 (Questions 16, 20). Of the 15 prospective jurors struck for cause, 11

(or 23% of those examined) were stricken based on a connection to the events of January 6 or a

professed inability to be impartial. 7

        In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of



6
  Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See Webster
4-25-22 AM Tr. 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68 (Juror 951), 78 (Juror
419); Webster 4-25-22 PM Tr. 102-04, 207, 217 (Juror 571), 188 (Juror 1114), 191 (Juror 176),
203-04 (Juror 1262). Of the ten other stricken jurors, three professed an ability to be impartial but
were nevertheless stricken based on a connection to the events or to the U.S. Attorney’s Office.
See Webster 4-25-22 AM Tr. at 58-60 (Juror 689 was a deputy chief of staff for a member of
congress); Webster 4-25-22 PM Tr. at 139-41 (Juror 625’s former mother-in-law was a member
of congress); 196-98 (Juror 780 was a former Assistant U.S. Attorney in D.C.).
7
  See Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 61-62 (Juror 499), 67-68 (Juror 872), 84-85
(Juror 206), 91-94 (Juror 653); ECF No. 91 at 2-5 (Juror 1129), 32 (Juror 182), 36 (Juror 176), 61-
62 (Juror 890), 75-78 (Juror 870), 94-97 (Juror 1111), 97-104 (Juror 1412). For the four jurors
excused for hardship, see Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 77-79 (Juror 1524), 99
(Juror 1094); ECF No. 91 at 12 (Juror 1014), 31 (Juror 899).


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petitioner.” Id. at 727. The percentage of partiality-based strikes in these first five January 6-

related jury trials—between 9% and 23% of those examined—is far lower than the 62% in Irvin.

The percentage in these cases is lower even than in Murphy, where 20 of 78 prospective jurors

(25%) were “excused because they indicated an opinion as to petitioner’s guilt.” Murphy, 421

U.S. at 803. Murphy said that this percentage “by no means suggests a community with sentiment

so poisoned against petitioner as to impeach the indifference of jurors who displayed no animus

of their own.” Id. As in Murphy, the number of prospective jurors indicating bias does not call

into question the qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.




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                                CONCLUSION

For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

                                     Respectfully submitted,

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